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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 KNIGHT FIRST AMENDMENT INSTITUTE
 AT COLUMBIA UNIVERSITY,

                        Plaintiff,                              No. 1:17-cv-07572-ALC

        v.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY, U.S. CUSTOMS AND BORDER
 PROTECTION, U.S. IMMIGRATION AND
 CUSTOMS ENFORCEMENT, U.S.
 CITIZENSHIP AND IMMIGRATION
 SERVICES, U.S. DEPARTMENT OF
 JUSTICE, and U.S. DEPARTMENT OF
 STATE,

                        Defendants.


                                     JOINT STATUS REPORT

       1.      The Knight First Amendment Institute at Columbia University (the “Knight

Institute” or “Institute”) and Defendants U.S. Department of Homeland Security (“DHS”), U.S.

Customs and Border Protection (“CBP”), U.S. Immigration and Customs Enforcement (“ICE”),

U.S. Citizenship and Immigration Services (“USCIS”), U.S. Department of Justice (“DOJ”), and

U.S. Department of State (“State”), respectfully submit this Joint Status Report to update the Court

regarding the progress of Defendants’ remaining searches for and productions of records

responsive to the Institute’s Freedom of Information Act (“FOIA”) request (the “Request”), see

Am. Compl. Ex. B 3–4, ECF No. 42-2, and ICE, UCSIS, and State’s appeal of the Court’s

Opinions and Orders entered on September 13 and 23, 2019, and September 14, 2020, see ECF

No. 166.
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          Non-ICE Productions

          2.    As detailed in the parties’ February 24, 2020 Joint Status Report, the parties reached

agreements regarding the terms and initial deadlines for the agencies’ searches for records

responsive to Item 1 of the Request. ECF No. 154 ¶¶ 3–10.

          3.    As further summarized in the parties’ December 11, 2020 Joint Status Report

(“Dec. 11 JSR”), DHS, CBP, USCIS, DOJ’s Office of Information Policy, and State completed

their searches for and processing of any responsive records by November 13, 2020. ECF No. 171

¶¶ 3–4.

          ICE’s Productions for Components Not Subject to the Motion for Clarification and
          Partial Reconsideration

          4.    Of the Defendants, only ICE is still completing productions responsive to Item 1 of

the Request. As detailed in the parties’ December 11 JSR, for the components not subject to the

Defendants’ motion for clarification and partial reconsideration, ECF No. 144, ICE conducted

searches for, and continues to process and produce, records responsive to Item 1 of the Request.

See Dec. 11 JSR ¶ 5.

          5.    Also as described in the December 11 JSR, ICE reported that it had referred

approximately 100 pages of records to DHS’s Privacy Office and Office of the Inspector General

(“OIG”), USCIS, CBP, and State for direct response to the Institute; and that it was waiting for

responses regarding approximately 270 pages of records referred to the DHS Privacy Office and

State for consultation. See Dec. 11 JSR ¶ 6.

          6.    On December 18, 2020, ICE provided an update to the Knight Institute, indicating

that: (1) State expected to process and produce the documents referred to State by ICE by

December 31, 2020; (2) DHS expected to process and produce the first tranche of documents




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referred to DHS by ICE by December 31, 2020; and (3) ICE expected to process and produce the

documents sent for consult to CBP, USCIS, State, and DHS OIG by January 29, 2021.

       7.      On December 31, 2020, State reported that it had completed processing of the 23

pages of records referred to State by ICE. State determined that 10 pages were duplicates and 13

pages could be released in part and withheld in part, pursuant to FOIA Exemptions 5, 6, and 7.

       8.      On February 9, 2021, ICE completed the processing and production of the pages

that it had previously sent for consult to CBP, USCIS, State, and DHS OIG. DHS is currently in

the process of finalizing for production the documents ICE had previously referred to DHS.

       ICE’s New Searches

       9.      Pursuant to the Court’s September 13, 2020 Opinion and Order clarifying the

Court’s September 13 and 23, 2019, orders and denying the Defendants’ motion for partial

reconsideration, ECF No. 158, ICE conducted new searches within the Immigration Law and

Practice Division (“ILPD”), National Security Law Section (“NSLS”), Field Legal Operations

(“FLO”), Human Rights Violators Law Division (“HRVLD”) and Office of the Executive Deputy

Principal Legal Advisor (“EDPLA”) using search terms previously agreed upon by the parties, and

re-tasked the Enforcement and Removal Operations Law Division (“EROLD”) to conduct a search

using the same agreed-upon search terms. See Dec. 11 JSR ¶ 8.

       10.     As detailed in the December 11 JSR, ICE completed those searches and informed

the Knight Institute of the initial results, indicating that the search had returned at least 263,857

potentially responsive documents (not pages) after de-duplication. See Dec. 11 JSR ¶ 9.

       11.     On January 10, 2021, the Knight Institute proposed measures to provisionally

narrow the parameters of ICE’s new searches and thus limit the universe of potentially responsive

documents.




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       12.     ICE agreed to apply the Knight Institute’s suggestions but has not yet completed

re-running the searches.

       ICE, USCIS, and State’s Appeal

       13.     As detailed in the December 11th JSR, ICE, USCIS, and State filed a notice of

appeal on November 10, 2020 of the Opinions and Orders entered by the Court on September 13,

2019, September 23, 2019, and September 14, 2020. Dec. 11 JSR ¶¶ 11–12. The Court stayed

production of the records subject to appeal pending disposition of the appeal. Id. ¶ 13.

       14.     ICE, USCIS, and State will file their opening brief on February 23, 2021.

       Proposed Next Step

       15.     The parties have agreed to submit a joint status report by April 9, 2021, providing

the Court with further updates regarding the status of ICE’s new searches and productions of

responsive records.




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Dated: February 9, 2021
                                           Sincerely,

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